






TEXAS COURT OF APPEALS, THIRD DISTRICT, AT AUSTIN






NO. 03-01-00024-CV







Dean Ramsey, Eva Ramsey, and Laura Ramsey, Appellants



v.



Tosco, Inc., Appellee







FROM THE DISTRICT COURT OF BURNET COUNTY, 33RD JUDICIAL DISTRICT


NO. 19,678, HONORABLE DONALD V. HAMMOND, JUDGE PRESIDING 







		This is an appeal of the district court's dismissal of this case for want of
prosecution and refusal to grant appellants' motion to reinstate.  Appellants complained of the
court's failure to conduct a hearing on their motion to reinstate.  This Court abated the appeal to
allow the district court the opportunity to conduct that hearing.

		A supplemental clerk's record has now been filed in this cause reflecting that
on November 2, 2001, the district court held a hearing on appellants' motion to reinstate.  The court
granted the motion to reinstate, set the case for trial and referred it to mediation.  As a result of the
district court's actions, this appeal has become moot.





		We, therefore, dismiss this appeal as moot.



						                                                                         
        

						Marilyn Aboussie, Chief Justice

Before Chief Justice Aboussie, Justices B. A. Smith and Puryear

Dismissed as Moot

Filed:   December 6, 2001

Do Not Publish 


